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                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION



In Re: John Edward Small, Jr.                                 Case No. 10-37875-KRH
                                                              Chapter 13


                           REPORT BY TRUSTEE OF
                        COMPLETION OF PLAN PAYMENTS

NOW COMES the Chapter 13 Trustee herein, Carl M. Bates, and certifies to the Court that the
Debtor has completed their plan payments pursuant to the confirmed plan in this case and are
entitled to receive their discharge pursuant to Sec. 1328(a) of the Bankruptcy Code. For cases
filed on or after October 17, 2005 the Debtor(s) must file the “Certification of Plan Completion
and Request for Discharge” in order to receive their discharge. Your Trustee will proceed to
close this case and file his “Final Report and Account” upon the clearing of all outstanding
checks.


Date prepared: December 22, 2014
                                                           /s/ Carl M. Bates
                                                           Carl M. Bates
                                                           Chapter 13 Trustee

Carl M. Bates
Chapter 13 Trustee
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